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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In Re:                                                      Chapter 11

99 SUTTON LLC,                                              Case No. 21-43124-ess

                                        Debtor.
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                    ORDER AUTHORIZING RETENTION OF WACHTEL
                   MISSRY LLP AS SPECIAL REAL ESTATE COUNSEL FOR
                                     THE DEBTOR

       Upon the annexed application of 99 Sutton LLC, the debtor and debtor in possession

(“Debtor”), for authority pursuant to section 327(a) of title 11 of the United States Code (the

“Bankruptcy Code”) to retain Wachtel Missry LLP (“Wachtel Missry”) as its special real estate

counsel, and upon the annexed certification of Dani Schwartz, Esq.; and it appearing that Wachtel

Missry, by Mr. Schwartz, a partner thereof, is an attorney duly admitted to practice in this Court, and

upon the third-party Lar-dan declaration of Joseph Torres, and the Court being satisfied that Wachtel

Missry represents no interest adverse to the Debtor or to the estate in the matters upon which

Wachtel Missry is to be engaged and that its employment is necessary and in the best interests of the

estate, it is

       ORDERED, that pursuant to section 327(e), the Debtor be, and it is hereby, authorized to

retain Wachtel Missry its special real estate counsel in the within case under chapter 11 of the

Bankruptcy Code effective as of March 1, 2022; and it is further

       ORDERED, that compensation to Wachtel Missry for services rendered to the Debtor

hereafter shall be upon proper application on notice and hearing to the Court pursuant to

§§ 330 and 331 of the Bankruptcy Code, Bankruptcy Rule 2014, E.D.N.Y.L.B.R.2014-1, and the

Guidelines of the Office of the United States Trustee; provided, however, that no Cash Collateral (as

such term is defined in the Final Order (I) Authorizing Use of Cash Collateral and Affording

Adequate Protection; (II) Modifying the Automatic Stay; and (III) Granting Related Relief [Docket

No. 32]) of 99 Sutton Lender LLC shall be used to compensate Wachtel Missry;
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       ORDERED, that Wachtel Missry shall not change its billing rate in this case without an order

of the Court permitting same; and it is further

       ORDERED, that Wachtel Missry shall use its best efforts to avoid any duplication of services

provided by any of the Debtor’s other retained professionals in this chapter 11 case; and it is further

       ORDERED, that Wachtel Missry shall not split its fees in this case with any other

professional.

NO OBJECTION:
Office of the United States Trustee

By:/s/ Jeremy S. Sussman, Esq.
Jeremy S. Sussman
Dated: May 19, 2022




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  Dated: Brooklyn, New York                                                Elizabeth S. Stong
         May 20, 2022                                               United States Bankruptcy Judge

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